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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 AMERICAN BAR ASSOCIATION,

                 Plaintiff,

         v.                                                  Civil Action No. 25-1263 (CRC)

 DEPARTMENT OF JUSTICE, et al.,

                 Defendants.


                        NOTICE OF SUPPLEMENTAL AUTHORITY

        In connection with their pending motion to dismiss and opposition to Plaintiff’s

preliminary injunction motion (ECF No. 16), Defendants respectfully submit the attached

supplemental authority, Widakuswara v. Lake, Nos. 25-5144, 25-5145, 25-5150, 25-5151, 2025

WL 1288817 (D.C. Cir. May 3, 2025), which was decided the day after Defendants filed their

brief. As the D.C. Circuit explained there, “[w]hether phrased as a declaration that the agreements

remain in force, or an order to pay the money committed by those agreements, the injunction in

substance orders specific performance of the grant agreements—a quintessentially contractual

remedy. And it is the inherently contractual nature of the relief afforded—not any characterization

of the relief as money damages—that makes the [Court of Federal Claims] the exclusive forum for

this suit.” Id. at *4 (emphasis and citations omitted); id. at *6 (“Because . . . grant disputes directly

concern the public fisc, Congress has limited the resolution of these potentially costly claims to

specialized tribunals such as the . . . [Court of Federal Claims]. We must respect those boundaries

no less than the substantive and appropriations provisions governing the operation of [the

agency].”).

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Dated: May 5, 2025               Respectfully submitted,
       Washington, DC
                                 EDWARD R. MARTIN, JR., D.C. Bar #481866
                                 United States Attorney


                                 By:           /s/ Douglas C. Dreier
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